      Case 2:10-cr-20024-JWL      Document 153     Filed 05/12/16   Page 1 of 3




                     IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS

United States of America,

                   Plaintiff,

v.                                                         Case No. 10-20024-01-JWL


Adrian Mata-Rodriguez,

                   Defendant.

                                MEMORANDUM & ORDER

      A jury convicted Adrian Mata-Rodriguez of various drug crimes, including distribution

of and possession with intent to distribute 5 grams or more methamphetamine.        Utilizing

U.S.S.G. § 2D1.1, the presentence investigation report (PSR) calculated Mr. Mata-Rodriguez’s

total offense level as 38 with a criminal history category of II, with a resulting advisory

guideline range of 262 months to 327 months. After resolving objections to the PSR, the court

ultimately assessed a total offense level of 34 and a criminal history category of I, with a

resulting advisory guideline range of 151 months to 188 months. The court sentenced Mr.

Mata-Rodriguez to 188 months imprisonment, the high-end of the range. In February 2015, this

court entered an order reducing Mr. Mata-Rodriguez’s sentence to 151 months imprisonment in

light of Amendment 782.

      This matter is now before the court on Mr. Mata-Rodriguez’s motion to reduce his

sentence in light of Johnson v. United States, 135 S. Ct. 2551 (2015). Because the Johnson
       Case 2:10-cr-20024-JWL        Document 153      Filed 05/12/16    Page 2 of 3




decision does not apply to Mr. Mata-Rodriguez’s sentence in any respect, Mr. Mata-Rodriguez

is not entitled to relief.1

       The Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e), dictates a minimum

fifteen-year sentence if the offender violates § 922(g) and has “three previous convictions . . .

for a violent felony or a serious drug offense.” Id. § 924(e). Under the ACCA,

       the term “violent felony” means any crime punishable by imprisonment for a term
       exceeding one year, or any act of juvenile delinquency involving the use or
       carrying of a firearm, knife, or destructive device that would be punishable by
       imprisonment for such term if committed by an adult, that—

              (i) has as an element the use, attempted use, or threatened use of
              physical force against the person of another; or

              (ii) is burglary, arson, or extortion, involves use of explosives, or
              otherwise involves conduct that presents a serious potential risk of
              physical injury to another.

18 U.S.C. § 924(e)(2)(B)(i)-(ii) (emphasis added). The emphasized language is commonly

referred to as the “residual clause.” In re Gieswein, 802 F.3d 1143, 1145 (10th Cir. 2015)

(citing Johnson, 135 S. Ct. at 2556). In Johnson, the Supreme Court held that enhancing a

sentence under the residual clause violates a defendant’s right to due process because that

portion of the ACCA is unconstitutionally vague. Id. (citing Johnson, 135 S. Ct. at 2557, 2563).

The Tenth Circuit has applied Johnson to the residual clause of the definition of a “crime of

violence” under the career offender guideline because that clause is nearly identical to the clause

struck down by the Court in Johnson. See United States v. Madrid, 805 F.3d 1204, 1210 (10th

Cir. 2015) (residual clause of U.S.S.G. § 4B1.2(a)(2) is void for vagueness in light of Johnson).

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 Mr. Mata-Rodriguez does not identify the procedural vehicle for his motion. Regardless,
because Johnson does not apply to Mr. Mata-Rodriguez’s situation, there is no statute that
would authorize the reduction requested.
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      Case 2:10-cr-20024-JWL        Document 153      Filed 05/12/16     Page 3 of 3




The government directs the court to similar residual clauses in other Guidelines that the Circuit

would likely find void for vagueness because those clauses mirror the one found in the ACCA,

including clauses found in the criminal history guidelines (§§ 4A.1.1(e) & 4A1.2(p)); the

firearms guideline (§ 2K2.1 & cmt. n.1); the explosive materials guideline (§ 2K1.3 & cmt. n.2);

the money laundering guideline (§ 2S1.1 & cmt. n.1); the departure guideline for semi-automatic

firearms (§ 5K2.17 & cmt. n.1); and the probation and supervised release guideline (§

7B1.1(a)(1) & cmt. n.2).

       A review of Mr. Mata-Rodriguez’s PSR reveals that he was not deemed an armed career

criminal under the ACCA and none of the Guidelines utilized in calculating Mr. Mata-

Rodriguez’s sentence are implicated by the Supreme Court’s decision in Johnson. The holding

in Johnson, then, is inapplicable to Mr. Mata-Rodriguez’s situation and the court may not reduce

Mr. Mata-Rodriguez’s sentence based on the Johnson decision.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Mata-Rodriguez’s

motion to reduce sentence (doc. 149) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 12th day of May, 2016, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge

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